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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 INDUSTRIA LECHERA DE PUERTO RICO                          Civil No.: 17-1885 (DRD)
 INC.,

            Plaintiff,

 v.
 CARLOS FLORES, in his official capacity as
 SECRETARY OF THE PUERTO RICO
 DEPARTMENT
    Removed Action  OFfor
                        AGRICULTURE;
                           Review of
 MARIA
    Administrative Order MARTINEZ CAMPOS,
           DEL   CARMEN
 in her official capacity as, INTERIM
 ADMINISTRATOR OF THE PUERTO RICO
 MILK INDUSTRY REGULATORY OFFICE

            Defendants.
            MOTION TO DISMISS FOR FAILIURE TO STATE A CLAIM

TO THE HONORABLE COURT:

       NOW COMES Defendant, Agronomist María del Carmen Martínez Campos, the

Interim Administrator (the Administrator) of the Puerto Rico Milk Industry Regulatory

Office (ORIL under its Spanish language acronym), by and through the undersigned

attorneys and for its Motion to Dismiss the complaint filed by Plaintiff, Industria Lechera

de Puerto Rico, Inc. (Indulac) for failure to state a claim pursuant to Fed. R. Civ. P.

12(b)(6).

                                    I.
                   INTRODUCTION AND SUMMARY OF MOTION

       The Administrator removed to the District Court the administrative review

proceeding that Indulac filed before the Courts of Puerto Rico through which it challenges

certain milk price order with effective date of June 1, 2017 Price Order (the June 2017

Price Order). Dkt. #1. Indulac alleges that the June 2017 Price Order is illegal because
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the Administrator did not comply with Article 16 of Act 34 of June 11, 1957 (P.R. Laws

Ann. Tit. 5, §1107). According to Indulac, the Administrator was obligated under Puerto

Rico statute to hold public hearings, publish a market study to justify a price increase, and

publish the change in price to the public prior to issuing the June 2017 Price Order. Since

the Administrator did none of these things when she reinstated the regulatory accrual sur-

charge to the price of all fluid milk sold in Puerto Rico, Indulac argues that the June 2017

Price Order is void.

       The Administrator seeks by separate motion a preliminary and permanent

injunctive remedy against Indulac and the Court of First Review from interfering with the

Settlement and the Judgment. Dkt. #6. Therein, the Administrator set forth the factual

underpinnings and the legal basis for three of her defenses. The Administrator is quite

likely to succeed on the merits that the relitigation exception of the Anti-Injunction Act

bars the Removed Action, that Indulac is precluded from challenging the June 2017 Price

Order and Indulac is barred from collaterally attacking the District Court’s judgment in

any other judicial forum. Id., p. 10-15. These defenses and their substantiation are

incorporated in this motion as if fully transcribed therein.

       Indulac has “acquiesced” to the District Court’s jurisdiction and now requests that

the District Court entertain its challenge to the June 2017 Price Order “expeditiously”.

Dkt. #10, p. 3. This motion to dismiss the Removed Action will address the core

challenge raised by Indulac, that is whether the Administrator was under the obligation to

follow Puerto Rico laws prior to issuing the June 2017 Price Order to impart legal

imprimatur on the order.            The judicial authorities cited herein reveal that the

Administrator was not under the obligation to follow verbatim local laws to comply with




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the Settlement. Accordingly, she moves the District Court, which now has jurisdiction

over the instant matter, to dismiss the Removed Action.

                                    II.
                  THE FACTS AS ALLEGED IN THE COMPLAINT

         The following are the operative facts alleged in the Removed Action:

         1.     The June 2017 Price Order was issued on May 31, 2017 by the

Administrator. Dkt. #1, Exhibit 1, p. 2, ¶IV-1.

         2.     Indulac was notified of the June 2017 Price Order on May 31, 2017. Id.,

¶IV-2.

         3.     The June 2017 Price Order increases the price of UHT milk to be paid at

the consumer level from $1.92 to $1.95. Id., ¶IV-3, 6.

         4.     The change in price would be effective on June 1, 2017. Id., ¶IV-4.

         5.     The June 2017 Price Order does not advise an adversely affected party of

their right to request judicial review or that such review could be filed in the Court of

First Instance. Id., ¶IV-5.

         6.     The June 2017 Price Order increased the price of UHT milk without

holding public hearings duly notified, without the appearance and recommendation of the

Secretary of the Department of Consumer Affairs and did not rely on a market study as

required by Act 34. Id., ¶IV-7.

         7.     Indulac sent a letter to the Administrator claiming that the June 2017 Price

Order was illegal and ultra vires. Id., ¶IV-8.

         The following will complete the District Court’s understanding of the operative

facts.




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        8.     The District Court issued a Preliminary Injunction (Dkt. #480; 04-1840)

through which it ordered the Administrator to, inter alia, “adopt a temporary mechanism

that will allow [respondents] to recover the new rate of return… for the year 2003…and

up to the day when they begin to recover said rate.” Vaqueria Tres Monjitas, Inc., v.

Laboy, 2007 LEXIS 98950, p. 181. With regard to such remedy, the court provided that

“[t]he Administrator may so act through regulatory accruals, special temporary rates of

return or any other available mechanism of [the Administrator’s] choosing.” Id.

        9.     Notwithstanding Defendants appeals and challenges to the propriety of the

regulatory accrual remedy and in compliance with the District Court’s order, the

Administrator of ORIL promulgated Price Order dated April 17, 2008 (the April 2008

Price Order). The promulgation of the April 2008 Price Order followed the required

processes under Puerto Rico law. The April 2008 Price Order provided for a regulatory

accrual sur-charge upon every quart of fluid milk sold in Puerto Rico, and was imbedded

in the price of the products sold to the consumer for the purpose of compensating

respondents for their lost revenues.

        10.    Defendants informed the District Court of the adoption of the April 2008

Price Order, which originally provided for the regulatory accrual sur-charge imbedded in

the price of all fluid milk sold in Puerto Rico at the consumer level. Dkt #846 and Dkt

#850.

        11.    The District Court provided the parties with an opportunity to challenge

the April 2008 Price Order. Dkt. #833. Six challenges were filed. See Dkts. #858

(PRDFA’s Challenge), #859 (VTM’s Challenge), #861 (Suiza’s Challenge), #862

(Indulac’s Challenge), #863 (CUD’s Challenge) and #865 (Ganaderos Unidos’




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Challenge).    No party to the action challenged the regulatory accrual sur-charge

implemented via the April 2008 Price Order. The first opportunity that Indulac had to

challenge the regulatory accrual sur-charge was at that time during the litigation before

the District Court. Ironically, the only challenge brought by Indulac was against the

“balancing plant credit,” which was challenged as having “the precise opposite of what

the credit intends to achieve.” Dkt. #862, p. 2. The District Court acknowledged on more

than one occasion that the regulatory accrual sur-charge was an effort to comply with the

preliminary injunction, and even the Court of Appeals noted that “[i]n compliance with

the district court's injunctive order, ORIL adopted an administrative order which directed

that 1.5 cents from the sale of each quart of milk be earmarked for the purpose of

complying with the regulatory accrual mechanism.” Vaqueria Tres Monjitas v. Irizarry,

600 F. 3d 1, 2 (1st Cir. 2010).

       12.     The regulatory accrual sur-charge continued to be in vigor through the

several Price Orders issued thereafter while the case was litigated. During the period

between the April 2008 Price Order and the Settlement, Indulac collected the regulatory

accrual sur-charge imbedded in the price of the fluid milk it sold consumers and

transferred it to the Administrator for eventual payment to the processing plants.

       13.     On October 29, 2013, Defendants, Secretary of Agriculture of Puerto Rico

(the Secretary) and the Administrator, together with Plaintiffs, Suiza Dairy, Inc. (Suiza),

and Vaquería Tres Monjitas, Inc. (VTM), executed the Settlement thereby “settl[ing] all

matters pending in the [ ] action in the interest of justice without conceding” to Suiza or

VTM’s allegations or the court decisions that had brought the parties to that stage of

litigation. Dkt. #2322, p. 1, ¶2.




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           14.      The District Court approved the Settlement and incorporated its terms into

an Order and Judgment. Dkt. #2347.

          15.       After the parties settled the case, the District Court afforded the PRDFA

and Indulac the opportunity to challenge the Settlement1. Both intervenors filed motions

challenging the Settlement. Indulac moved the District Court to alter and/or amend the

Judgment. Dkt. #2409. Thus, a second opportunity was afforded to Indulac to challenge

the regulatory accrual sur-charge. Indulac then challenged the regulatory accrual and its

payout. Id., p. 11 (“…ORIL pretends to shift a significant portion of the burden of the

illegally agreed regulatory accrual amount to [Indulac].”). Curiously, it also challenged

the elimination of the balance credit it did not want to begin with. Id. Clearly, Indulac

understood the ramifications of the Settlement, particularly with regards to the application

of the regulatory accrual sur-charge to all fluid milk. The District Court denied Indulac’s

motion to alter or amend. An appeal was filed by Indulac, but dismissed by the Court of

Appeals as untimely. Vaquería Tres Monjitas, Inc., v. Comas Pagán, 772 F.3d at 960.

           16.      The Settlement contains a number of agreements related to the regulatory

accrual. See Dkt. #2322, p. 3-5, ¶¶8, 9, 10, 11, 12, 13, and 14.

           17.      Pursuant to the Settlement, the regulatory accrual sur-charge “w[ould] be

deferred” between November 7, 2013 and December 31, 2016, and reinstated by January

1, 2017. Dkt. #2322, p. 4, ¶132. It is axiomatic that deferment is the act of postponing


1
  See PRDFA v. Pagan, 748 F. 3d 13, 20 (1st Cir. 2014) (“It is true that the district court entered the
Agreement on November 7 without first hearing PRDFA's objections. But it is also true that the court
immediately stayed its order in light of the objections and gave PRDFA (and Indulac) ample opportunity to
review the Agreement and to be heard.”)

2
    Paragraph 13 states:
             13. By the date of execution of this agreement, the plants have been collecting three cents of
           regulatory accrual charge and the monies collected have already been deducted from the



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something. In the context of paragraph thirteen of the Settlement, the deferment referred

to the act of collecting the regulatory accrual sur-charge on all fluid milk for a period of

time set forth in the Settlement.

       18.     The Settlement included a Price Order pre-dated November 7, 2013 (the

November 2013 Price Order), which for the first time in many years did not contain the

regulatory sur-charge over all fluid milk. Dkt. #2322-2.

       19.     Pursuant to the Settlement, the price of fluid milk did not include

regulatory accrual sur-charge for three years. Id.

       20.     Indeed, when the Administrator issued his July 14, 2014 Price Order (the

July 2014 Price Order), he did not include a regulatory accrual sur-charge.

       21.     By Price Order 2016-25 dated December 26, 2016 (the December 2016

Price Order), the Administrator, in compliance with the Settlement, reestablished the

regulatory accrual sur-charge over fresh milk effective January 1, 2017.

       22.     The sur-charge was made extensive over all fluid milk through the now

challenged June 2017 Price Order.

       23.     The June 2017 Price Order only reestablished a regulatory accrual sur-

charge upon all fluid milk, which had been in vigor five years prior to a settlement of a

federal claim and was differed for three years pursuant thereto.




       regulatory accrual to obtain the unpaid principal mentioned in paragraph 8 above. When the New
       ORIL Price Order, Exhibit 2, enters into effect on November 7, 2013, 3 cents out of the
       regulatory accrual charge to pay out the principal as of 2028, will bel deferred until January 1,
       2017.




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                                    III.
              THERE IS NO CAUSE OF ACTION IN THIS COMPLAINT
                  UPON WHICH RELIEF MAY BE GRANTED

         A.     The Fed. R. Civ. P. 12(b)(6) Standard.


         Fed. R. Civ. P. 12 (b)(6) provides that an action may be dismissed if it fails to

state a claim upon which relief may be granted. Accordingly, a complaint will not be

dismissed unless it appears without a doubt that the plaintiff can prove no set of facts that

would entitle him to relief. Gonzalez v. Hernández, 221 F. 3d 45 (1st Cir. 2000). Since

Indulac can prove no set of facts that would entitle it to relief, the Administrator moves

the District Court to dismiss the Removed Action for the reasons set forth in her Motion

for Injunctive Relief (incorporated herein by reference) and for the reasons set forth

below.

      B.      The June 2017 Price Order is an Act that Arises under the Settlement
and does not Require prior Compliance with Act 34 or the Puerto Rico Administrative
Procedures Act.


         The Administrator has been delegated numerous powers, attributes and functions

pursuant to Act 34. The Administrator has been specifically delegated quasi-legislative

function to fix prices for fluid milk and milk by-products. P.R. Laws Ann., tit. 5,

§1096(b)(14). According to Act 34, the Administrator is required to follow certain

procedures prior to issuing a price order.                  P.R. Laws Ann., tit. 5, §1107(d) (“The

Administrator shall fix the maximum, minimum or only price for liquid milk, including

surplus, in its different denominations, this being types, formulas or categories in all and

any of the distribution channels and levels.”). In doing so, “[a]ny determination of prices

shall be the product of a process of duly convoked public hearings.” Id. The Department




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of Consumer Affairs also participates in the hearings, Secretary of which “shall appear in

representation of consumers [and] render a report…[which] [t]he Administrator shall take

into consideration…”. Id.

         But, it has been the Administrator’s consistent position that after its entry the

Settlement became the operative document. As such, the Settlement (similar in nature in

this respect to a consent decree3), is “an agreement that the parties desire and expect will

be reflected in, and be enforceable as, a judicial decree that is subject to the rules

generally applicable to other judgments and decrees.” Rufo v. Inmates of Suffolk Cnty.

Jail, 502 U.S. 367, 378, (1992). “[A]lthough [it is] a contract between parties, a consent

decree’s enforcement is entirely dependent upon judicial act.” Turtle Island Restoration

Network v. U.S. Dept. of Commerce, 834 F. Supp. 2d 1004, 1011 (D. Hawaii, 2011)

(Holding that a federal defendant agency did not have to follow several federal

environmental statutes in order to comply with a consent decree); see also EEOC v. C.W.

Transp. Inc., 658 F. Supp. 1278, 1301 (D. Wisconsin, 1987) (citing Local number 93, 106

S. Ct. at 3076 stating that “it is the agreement of the parties, rather than the force of the

law upon which the complaint was originally based, that creates the obligations embodied

in a consent decree”). Accordingly, “the statutes and regulations relied upon by [Indulac]

do not contemplate their applicability to consent decrees.” Id. Indulac’s main argument

is that non-compliance with Puerto Rico laws invalidates the June 2017 Price Order. Yet,



3
  American Disability Ass'n Inc. v. Chmielarz, 289 F.3d 1315, 1319 n.2, 1321 (11th Cir. 2002) (“[T]he
district court's explicit. . .retention of jurisdiction to enforce [the] terms [of the settlement agreement is] the
functional equivalent of a consent decree...The formal entry of a consent decree was wholly unnecessary . . .
. Rather, by approving the settlement agreement and then expressly retaining jurisdiction to enforce its
terms, the district court effected precisely the same result as would have been achieved pursuant to a
consent decree.”)




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federal judicial authorities state otherwise. “Because a consent decree is a ‘judicial act’4

rather than an agency act, Federal Defendants are not required to ensure that their

stipulation to the proposed consent decree complies with th[is] statute[ ].” Id. See also

Home Builders Association of Northern California v. Norton, 293 F. Supp. 2d 1, 5

(D.D.C. 2002) (“As such, the Court does not find that the notice and comment

requirements of 5 U.S.C. § 553 apply before the Court's adoption of a consent decree, as

adoption of a consent decree is not an agency act under the [Administrative Procedures

Act (APA)].”).

           Sections 2.1 and 2.2 of the Puerto Rico Uniform Administrative Act (LPAU under

its Spanish language acronym) requires public notice and comment from Puerto Rico

executive branch agencies in enacting their regulations. P.R. Laws Ann., tit. 3, §§ 2121,

2122. The LPAU also provides for judicial review remedies when agencies do not


4
    Settlement agreements have been interpreted as judicial acts when the court retains jurisdiction to enforce

them:

                    By retaining jurisdiction to enforce the settlement agreement, the
                    agreement is more than a contract between the parties – it becomes
                    a judicial act. United States v. Swift & Co., 286 U.S. 106, 115, 52 S. Ct.
                    460, 76 L. Ed. 999 (1932) (“We reject the argument for the interveners
                    that a decree entered upon consent is to be treated as a contract and not
                    as a judicial act.”). As such, the Court agrees with Plaintiff that the
                    settlement agreement should be viewed as a consent decree, not merely
                    as a settlement contract without any judicial imprimatur. As the
                    Eleventh Circuit has stated, where a court has retained jurisdiction to
                    enforce a settlement agreement in an order dismissing a case, “[T]he
                    district court’s explicit. . . retention of jurisdiction to enforce [the]
                    terms [of the settlement agreement is] the functional equivalent of a
                    consent decree . . . The formal entry of a consent decree was wholly
                    unnecessary . . . . Rather, by approving the settlement agreement
                    and then expressly retaining jurisdiction to enforce its terms, the
                    district court effected precisely the same result as would have been
                    achieved pursuant to a consent decree.” American Disability Ass’n
                    Inc. v. Chmielarz, 289 F.3d 1315, 1319 n.2, 1321 (11th Cir. 2002).
Access for the Disabled Inc. v. Leder, 2008 U.S. Dist. LEXIS 29418, * 4- *5 (2008) (emphasis added).




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substantially comply with the notice and comment requirements. Id., § 2127; Centro

Médico del Turabo Inc. v. Departamento de Salud, 181 D.P.R. 72, 80 (2011). Act 34 also

requires public notice and comment in the price review process. P.R. Laws Ann., tit. 5, §

1107. Similarly, “[t]he APA provides, inter alia, that federal agencies must follow certain

procedures, such as providing for public notice and comment before "rulemaking." 5.

U.S.C. § 553(b). For the purposes of the statute, amending or repealing a rule requires

recommencing the rulemaking process.” Id. However, “a consent decree is a judicial act,

rather than an agency act. See Norton, 293 F. Supp. 2d at 5 (“As such, the Court does not

find that the notice and comment requirements of 5 U.S.C. § 553 apply before the Court's

adoption of a consent decree, as adoption of a consent decree is not an agency act under

the APA.”); Citizens for a Better Env't v. Gorsuch, 718 F.2d 1117, 1136, 231 U.S. App.

D.C. 79 (D.C. Cir. 1983) (Wilkey, J., dissenting) (“This court has previously ruled that

the consent decree at issue here does not rise to the level of a rulemaking.”); Id. (“The

commitment that occurs through a consent decree takes place, however, without recourse

to the public notice requirements of notice and comment rulemaking.”).

        Logic dictates that if the APA “is not applicable to [a] proposed consent decree,”

then Act 34 nor LPAU notice and comment requirements are inapplicable5 as well to the

enactment of the June 2017 Price Order because it is a judicial, rather than an agency act,

which was done in compliance with the Settlement. Therefore, since the Administrator

was complying with the Settlement, she did not have to comply with notice and comment



5
  The Puerto Rico Supreme Court has adopted a rule in the interpretation of Puerto Rico’s Uniform
Administrative Proceedings Act in that the “interpretative jurisprudence of the APA and other state statutes
based on the Model Code…are very persuasive authorities to interpret [Puerto Rico’s Uniform
Administrative Proceedings Act].” See Asociación de Farmacias de la Comunidad v. Departamento de
Salud, 156 D.P.R. 105, 132 (2002) (Our Translation).



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requirements of Puerto Rico Administrative laws. Turtle Island Rest. Network v. United

States DOC, 834 F. Supp. 2d 1004, 1013 (2011).

       C.     The June 2017 Price Order does not substantively change prior
regulatory accrual sur-charge orders, nor does it establish new law, rights or duties.


       The June 2017 Price Order only extends a regulatory accrual sur-charge adopted

in 2008, in vigor henceforth until the Settlement, deferred per agreement for a period of

time and re-established once the period tolled as set forth in the Settlement. Thus, notice

and comment are not required under such circumstances given that the June 2017 Price

Order does not provide for “substantive change” to the regulatory accrual sur-charge

since it was enacted in 2008. The June 2017 Price Order does not establish “new law,

rights or duties” with regards to the regulatory accrual sur-charge. SBC, Inc., v. FCC, 414

F. 3d 486, 487-98 (3rd Cir. 2005) (“Legislative rules are subject to notice and comment

requirements of the APA because they work substantive changes in prior regulations, or

create new law, rights or duties.”)

       Since there is no substantive change to prior price orders, nor does the June 2017

Price Order create new law, rights or duties, Indulac’s rights and interests are not

substantially affected. The District Court should note that the regulatory accrual sur-

charge is an “add-on” to the price of fluid milk. The current price of fluid milk provides

adequate compensation to the plants considering their costs and a reasonable rate or

return. Specifically, Indulac will continue to enjoy the coverage of its recognized costs

and a 16.2% rate of return.




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       D.      The June 2017 Price Order Reiterates Prior Price Orders.

       Notice and comment are also unnecessary when there is reiteration of a prior

adopted rule. It has been stated more than once in this motion that the June 2017 Price

Order simply reestablishes the regulatory sur-charge on all fluid milk which was deferred

by virtue of the Settlement. It cannot be said that a “virtual ‘reprinting of the statutory

language,’ in the regulation [affects a party’s] rights and interests.” Rochna v. National

Transp. Safety Bd., 929 F.2d 13, 14 (1991). This is true because “when regulations

merely restate the statute they implement, notice-and-comment procedures are

unnecessary.” Gray Panthers Advocacy Committee v. Sullivan, 936 F.2d 1284, 1291

(1991). By enacting the June 2017 Price Order, the Administrator merely restated what

was disposed of in prior price orders, particularly the April 2008 Price Order which

established the regulatory accrual sur-charge on all fluid milk and in compliance with the

Judgment and Settlement.

       E.      The Administrator is entitled to the application of Latches.

       It is axiomatic that “[e]quity aids the vigilant, not those who slumber on their

rights.” Federal Practice and Procedure, §2946 at p. 113; See also Pastor-Glnorio v.

R&G Mortgage Corp., 371 F. Supp. 2d 89, 97 (D.P.R. 2005) (18 month delay in bringing

federal suit was unreasonable).

        The doctrine of laches bars assertion of a claim where a party’s delay in bringing

a suit was (1) unreasonable, and (2) resulted in prejudice to the opposing party in

defending the claims. K-Mart Corp. v. Oriental Plaza, Inc., 875 F.2d 907, 911 (1st Cir.

1989), Federal Practice and Procedure, at 113. See also Pastor-Glnorio, 371 F. Supp. 2d

at 97 and compare Tenoco Oil Co. Inc., v. Department of Consumer Affairs, 876 F. 2d



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1013, 1017-18 (1st Cir. 1989)6 and Lingle v. Chevron U.S.A., Inc., 125 S.Ct. 2074, 161 L.

Ed. 2d 876, 884 (2005)7. When the timing is not controlled by a statutory limitation

period, the burden rests with the defendant to establish both unreasonable delay and

substantial prejudice. See K-Mart, 875 F.2d at 911. The question of when delay becomes

unreasonable is not simply a question of time but of context, the nature of the underlying

claim, the opportunity to bring it earlier, and the reasons for the delay. See Kay v. Austin,

621 F.2d 809 (6th Cir. 1980); Miller v. Board of Commissioners of Miller County, 45 F.

Supp. 2d at 1373 (M.D.Ga. 1998).

         It is uncontested that Indulac did not challenge the adoption of the regulatory

accrual sur-charge at any time between April 2008, although it was afforded ample

opportunity do so. That is, Indulac in that 5-year period did nothing to challenge the

regulatory accrual sur-charge. In fact, during the totality of that 5-year period, Indulac

collected and paid the regulatory accrual sur-charge to the Administrator for payment to

the plants. It is also uncontested that the regulatory accrual sur-charge was imbedded in

the price of all fluid milk sold in Puerto Rico. It is equally true that Indulac had

knowledge of the content of the Settlement and, in particular, paragraph thirteen thereof.

Indulac was provided the opportunity to and in fact challenged the Settlement at the

District Court level and was unsuccessful in its efforts.                              Its efforts ended with the

dismissal of its appeal. The regulatory accrual sur-charge reinstated by the June 2017

Price Order upon all fluid milk contains “no new information which [Indulac] had not



6
  Although the injunction was vacated by the First Circuit for failure to abide by Williamson, supra.,
plaintiffs there did not hesitate to take their action to federal court on a takings claim upon issuance of the
challenged price order.
7
  Action was brought to federal court seeking injunctive and declaratory relief within 30 days after the
enactment of the challenged legislation was enacted.



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already been aware of [by 2008]”; “it was inferable then” that the regulatory accrual sur-

charge would take effect by January 2017. Puerto Rican-American Ins. Co. v. Benjamin

Shipping Co., 829 F.2d 281, 283 (1st Cir. 1987). These facts clearly point to latches8.

                                                  IV.
                                              CONCLUSION

        The District Court can dismiss the Removed Action for a number of reasons for

failure to state a claim which were set forth in the Motion for Injunctive Relief. The

District Court may also dismiss the Removed Action for failure to state a claim because

the only authority that the Administrator had to obey when placing the June 2017 Price

Order in vigor was the Settlement.

        WHEREFORE, the Administrator respectfully requests that this Honorable Court

DISMISS the Removed Action for failure to state a claim upon which relief may be

granted under Fed. R. Civ. P. 12(b)(6).

RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico this 12th day of July, 2017.

        WE HEREBY CERTIFY that of this date a true and exact copy of this motion

has also been electronically filed with the Clerk of the Court using the CM/ECF system

which will send notification of such filing to all attorneys of record registered in the use

of the CM/ECF system.




8
 The District Court keenly identified latches in the March 22, 2017, Contempt Hearing. CHT March 22,
2017, p. 24, l. l. 8-9.



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                  Industria Lechera de Puerto Rico, Inc., v. Secretary of Agriculture.
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